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1                      IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
2                                EASTERN DIVISION
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4    NATHSON E. FIELDS,            )
                                   )
5                      Plaintiff, )             Docket No. 10 C 1168
                                   )
6                 vs.              )
                                   )
7    CITY OF CHICAGO, et al.,      )            Chicago, Illinois
                                   )            November 26, 2013
8                      Defendants. )            10:00 a.m.
9
                            TRANSCRIPT OF PROCEEDINGS
10                  BEFORE THE HONORABLE MATTHEW F. KENNELLY
11
     APPEARANCES:
12
13   For the Plaintiff:           LAW OFFICES OF H. CANDACE GORMAN
                                       BY: MS. H. CANDACE GORMAN
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16                                LEONARD GOODMAN LAW OFFICE, LLC
                                       BY: MS. MELISSA A. MATUZAK
17                                     53 West Jackson Boulevard
                                       Chicago, Illinois 60604
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19   For the Defendant:           DYKEMA GOSSETT PLLC
                                       BY: MR. DANIEL M. NOLAND
20                                     10 South Wacker Drive
                                       Suite 2300
21                                     Chicago, Illinois 60606
22
                                  COOK COUNTY STATE'S ATTORNEY
23                                     BY: MR. STEPHEN L. GARCIA
                                       500 Richard J. Daley Center
24                                     Chicago, Illinois
25
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1          (The following proceedings were had in open court:)
2                THE CLERK: 10 C 1168, Fields v. City.
3                MS. GORMAN: Good morning, your Honor; Candace Gorman
4    for the plaintiff.
5                MS. MATUZAK: Good morning, your Honor; Melissa
6    Matuzak, M-a-t-u-z-a-k, for plaintiff.
7                MR. GARCIA: Good morning, your Honor; Stephen Garcia
8    for defendants Kelley and Wharrie.
9                MR. NOLAND: Good morning, your Honor; Dan Noland,
10   N-o-l-a-n-d, for the City defendants.
11               MR. GARCIA: Judge, as discussed at the last status
12   conference, we filed our motion to stay the proceedings.
13               THE COURT: Yes, I read it. You don't need to argue
14   it.
15               So I was trying to sort of trace out the dates here.
16   And so in February of 2012 is when the Court of Appeals issued
17   the ruling on absolute immunity with regard to the federal
18   claims. It kicked the thing back to me.
19               MR. GARCIA: Correct.
20               THE COURT: At that point I still had the state
21   claims. It was this issue about whether I should keep them or
22   not.
23               MR. GARCIA: As well as the --
24               THE COURT: I ultimately decided to keep them. That
25   was in October of 2012. And then at that point in time, and
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1    this is the part I wasn't quite clear on -- I think the answer
2    is yes but I'm not positive -- when it got sent back to me,
3    was there a live motion of some sort at that point that
4    concerned immunity with regard to the state law claim?
5                MR. GARCIA: Yes, your Honor.
6                THE COURT: That's sort of what I thought. That was
7    the thing that I kind of tabled trying to figure out, A, what
8    I was going to do with the state law claims and so on.
9                MR. GARCIA: Correct.
10               THE COURT: So then I decided that at the same time
11   that I did the reconsideration on some of the federal
12   qualified immunity, which was in December.
13               MR. GARCIA: Correct.
14               THE COURT: Okay. And then you filed the appeal in
15   January, and you just argued it fairly recently I think is
16   what you told me.
17               MR. GARCIA: November 1st.
18               THE COURT: Right, okay.
19               MR. GARCIA: So that's the thing. We have
20   essentially been on appeal in one way, shape -- or the issue
21   has been pending since --
22               THE COURT: Well, not exactly, no. There were nine
23   months where you weren't on appeal, but you had an issue of
24   immunity that you had raised before me that I hadn't ruled on
25   yet.
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1                So, you know, just to be clear, I'm not -- I get what
2    May v. Sheahan says. I've read the response. I mean, I don't
3    --
4                Given the timing of the rulings I made, I don't think
5    that I could say that the current appeal is abusive. I mean,
6    I could never say that, quite honestly, because in the order
7    that I entered, I think I made it pretty clear that I thought
8    the law was unclear. So it's absolutely a legitimate appeal.
9                I'm not taking any kind of position right now on what
10   the state of affairs was when the case was pending before me
11   with regard to whether there was a stay because whatever May
12   v. Sheahan may say about an appeal, you know, divesting the
13   district court of jurisdiction over the matters that are
14   involved in appeal, if there is no appeal, then I am not
15   divested of anything. But at the current point in time, I
16   really don't see any appropriate basis to decline a stay on a
17   going forward basis to the state's attorney defendants, which
18   is Mr. Wharrie, and I never remember the other guy's name.
19               MR. GARCIA: Kelley.
20               THE COURT: Kelley, Wharrie and Kelley. I've
21   reviewed the response. So the motion to stay is granted.
22               Remind me when the argument was.
23               MR. GARCIA: November 1st.
24               THE COURT: So it's less than a month ago, okay. All
25   right.
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1                So in the response you referred to -- I hadn't
2    realized it was still going on. So is the certificate of
3    innocence proceeding still going on in the state court?
4                MS. GORMAN: Final oral arguments were last week on
5    Friday.
6                THE COURT: Okay, so it's under advisement now.
7                MS. GORMAN: Yes. And he --
8                THE COURT: Is it Judge Biebel?
9                MS. GORMAN: Biebel.
10               -- indicated that he would try to rule by
11   February 25th, but he couldn't promise.
12               THE COURT: Okay. All right, so there you go.
13               MR. GARCIA: All right. Thank you, Judge.
14               THE COURT: Take care.
15               MS. GORMAN: Thank you.
16        (Which were all the proceedings had in the above-entitled
17   cause on the day and date aforesaid.)
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1                              C E R T I F I C A T E
2
3              I hereby certify that the foregoing is a true and
4    correct transcript of the above-entitled matter.
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6
7    /s/ Laura M. Brennan                            November 7, 2017
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9
     Laura M. Brennan
10   Official Court Reporter                                       Date
     Northern District of Illinois
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